914 F.2d 250Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Thomas G. RUTHERS, II, Defendant-Appellant.
    No. 90-6540.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 20, 1990.Decided Sept. 13, 1990.Rehearing and Rehearing In Banc Denied Oct. 16, 1990.
    
      Appeal from the United States District Court for the Northern District of West Virginia, at Elkins.  William M. Kidd, Senior District Judge.  (CR No. 88-62-K;  C/A No. 89-86-E-K)
      Thomas G. Ruthers, II, appellant pro se.
      Martin Patrick Sheehan, Office of the United States Attorney, Wheeling, W.Va., for appellee.
      N.D.W.Va.
      AFFIRMED.
      Before K.K. HALL, MURNAGHAN and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Thomas G. Ruthers, II, appeals from the district court's order refusing relief under 28 U.S.C. Sec. 2255.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Ruthers, CR No. 88-62-K, C/A No. 89-86-E-K (N.D.W.Va. Feb. 20, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    